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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                        :       Chapter 9
                                               :
 CITY OF CHESTER, PENNSYLVANIA                 :       Case No. 22-13032
                                               :
                                Debtor         :
                                               :
            ANSWER OF THE STORMWATER AUTHORITY OF THE CITY OF
          CHESTER TO DEBTOR, CITY OF CHESTER’S MOTION TO PRODUCE
               DOCUMENTS PURSUANT TO BANKRUPTCY RULE 2004

          The Stormwater Authority of the City of Chester (“Respondent,” “SAC,” or the

 “Authority”) hereby responds to the Motion of Debtor, City of Chester, (“Debtor,” “Movant,” or

 “City”) for Entry of an Order Requiring the Stormwater Authority of the City of Chester to

 Produce Documents pursuant to Bankruptcy Rule 2004, stating as follows:

 I.       Preliminary Statement

          The scope of examination under Rule 2004 is characterized universally by courts as

 broad. See, In re Philadelphia Orchestra Assn., No. 11-13098-ELF (Bankr. E.D. Pa. July 25,

 2011) citing In re Drexel Burnham Lambert Group, Inc., 123 B.R. 702, 711 (Bankr. S.D.N.Y.

 1991) (“analogizing Rule 2004 examination to an authorized ‘fishing expedition’ that may ‘net

 the dolphins as well as the tuna’.”). A bankruptcy court must strike a balance between the

 parties' competing interests and is accorded broad discretion to consider the totality of the

 circumstances in determining the permissible scope of a Rule 2004 examination. Id. citing In re

 Countrywide Home Loans, Inc., 384 B.R. 373, 393 (Bankr. W.D. Pa. 2008), appeal dismissed,

 2008 WL 2388285 (W.D. Pa. Jun 11, 2008) (court should employ a "sliding scale” comparing a

 creditor's need for the requested information with the level of potential intrusiveness involved).

 The relevancy of the requested documents does not alone demonstrate good cause for
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 production. In re Drexel Burnham Lambert Group, Inc., 123 B.R. 702, 711 (Bankr. S.D.N.Y.

 1991). In this matter, the Debtor’s Motion to Produce pursuant to Bankr. Rule 2004 should be

 denied because the Commonwealth Court is expecting to address the Stormwater Authority-

 related matters, at which time these documents can properly be requested. While Debtor’s

 requests may be tangentially relevant to the pending bankruptcy proceeding, the totality of the

 circumstances require the Bankruptcy Court to allow the Commonwealth Court to continue in its

 statutory role.

         The instant Bankruptcy Court proceedings for the Debtor, City of Chester, do not exist in

 a vacuum. In 1995, the City of Chester (“Debtor,” “Chester,” or the “City”) was designated as a

 distressed municipality under the Financially Distressed Municipalities Act (“Act 47” or the

 “Act”), which is administered by the Commonwealth of Pennsylvania’s Department of

 Community and Economic Development (the "Department" or "DCED"). See, 53 P.S.

 §11701.121. Pursuant to the Act, among other things, the Department is tasked with appointing

 coordinators, which may be DCED employees or private consultants, to formulate plans to

 address the financial problems of distressed municipalities such as the City of Chester. See

 id. §11701.221(a), (b). All proposed recovery plans, including modified plans, must first be

 approved and confirmed by the Commonwealth Court of Pennsylvania (the “Commonwealth

 Court”) before they may be implemented. See, id. § 11701.703(e).

         From 1995 to 2020, the City operated under numerous fiscal recover plans. In June 2020,

 pursuant to then-Governor Wolf’s Declaration of Fiscal Emergency under Act 47, the City was

 placed under receivership, and Mr. Michael Doweary was approved as Receiver. Several plans

 have been presented to the Commonwealth Court by Debtor’s Receiver and, most recently, on

 November 8, 2022, the Receiver presented the Commonwealth Court with a “Second Amended




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 Recovery Plan”.1 The Receiver’s proposed Second Amended Recovery Plan contained thirty-

 three (33) initiatives, including categories specific to the attempted monetization of the

 Stormwater Authority of the City of Chester. On or about December 2, 2022, the Authority filed

 its Response and Objections to the “Second Amended Recovery Plan” with the Commonwealth

 Court, a copy of which is attached hereto as Exhibit 1.

           The Commonwealth Court did not consider or rule upon the City’s proposed Authority-

 related initiatives or the Authority’s objections. Rather, the Commonwealth Court stated that it

 “bifurcated the Stormwater Authority matter[]… due to the complex factual and legal issues

 involved, which the Court determined necessitated separate hearing. Thus, the Court does not

 address the Stormwater Authority initiatives [proposed by the Receiver]… in this Opinion.” See,

 Memorandum and Opinion of the Commonwealth Court of Pennsylvania in Neil R. Weaver, in

 his capacity as Acting Secretary of the Department of Community and Economic Development v.

 City of Chester, at FN.9 at pp- 9-10, a copy of which is attached hereto as Exhibit 2 (emphasis

 added).

           In the ensuing sixteen (16) months between the day the Commonwealth Court bifurcated

 the issues raised by the City regarding the Stormwater Authority, and the date on which the City

 filed the instant Motion in this Court, the Receiver did nothing to re-present to the

 Commonwealth Court “the complex factual and legal issues, involved which the

 [Commonwealth] Court determined necessitated separate hearing.” The Receiver did not request



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  Two days later, on November 10, 2022, the Receiver initiated the instant Bankruptcy Court
 matter, and this Court subsequently lifted the automatic stay so that the Commonwealth Court
 could address the Plan Modification. On November 22, 2022, this Court entered an Order
 clarifying that the automatic stay was not in effect with respect to proceedings in the
 Commonwealth Court relating to the Receiver's proposed Modified Recovery Plan. See, Docket
 No. 80, Automatic Stay Order.



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 another hearing on the initiatives as presented in the Second Amended Recovery Plan. On the

 contrary, after having reviewed and considered the Commonwealth Court’s February 2023

 Opinion and Memorandum, the City seems to have taken the legally unfounded position that it

 can avoid the required review and approval of the Commonwealth Court, and, instead, litigate

 “the complex factual and legal issues involved” with the Stormwater Authority in this Court.

        Had the City properly brought its action seeking to monetize of the Stormwater Authority

 of the City of Chester in Commonwealth Court, the parties could conduct their discovery in the

 normal course. Using this Court to avoid bringing such an action and extend the proverbial

 fishing net is especially troubling when considering the fact that the parties are regularly subject

 to document productions similar in scope. In addition to being subject to 65 P.S. §67.101 et seq.,

 the “Right-to-Know Law,” the Authority is subject to an annual audit conducted by the same

 office from which the Receiver operates. Pursuant to 53 Pa.C.S.A. § 5612(b), in pertinent part:

        a required annual report shall be published in accordance with the following: (1) Every
        authority shall file, on or before 180 days following the end of its fiscal year, an annual
        report of its fiscal affairs covering the preceding fiscal year with the Department of
        Community and Economic Development and with the municipality or municipalities
        creating the authority on forms prepared and distributed by the Department of
        Community and Economic Development. The reports shall also be provided, and may be
        provided electronically, to any other municipality that has residents served by the
        authority. (2) Every authority shall have its books, accounts and records audited annually
        by a certified public accountant, and a copy of the audit report shall be filed in the same
        manner and within the same time period as the annual report… (3) A concise financial
        statement shall be published annually at least once in a newspaper of general circulation
        in the municipality where the principal office of the authority is located. If the publication
        is not made by the authority, the municipality shall publish such statement at the expense
        of the authority. (4) If the authority fails to make such an audit or if the municipality
        determines that there is a need for a review, then the controller, auditor or accountant
        designated by the municipality is hereby authorized and empowered from time to time to
        examine the accounts and books of it, including its receipts, billing systems,
        disbursements, transparency of contracts and how the contracts are awarded, leases,
        sinking funds, investments, compliance with relevant Federal and State statutes, conflicts
        of interest by the authority and its board members, staff and contractors and any other
        matters relating to its finances, operation and affairs. The review by the municipality shall
        be conducted within a year of an authority’s annual audit…



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        The Authority’s audit for fiscal year 2023 is due on or before June 30, 2024. The

 Authority’s audit for fiscal year 2022 remains subject to further review by the Debtor.

 Information beyond that period is left to the exclusive jurisdiction of the Attorney General. See

 id at 5612 (c), stating “The Attorney General of the Commonwealth shall have the right to

 examine the books, accounts and records of any authority.” The Authority maintains that the

 bulk, if not all of the Debtor’s requests for information are either already public record and/or

 have already been provided.

                                    RESPONSE TO MOTION

 II.    Jurisdiction and Venue

        1.      Admitted in part; denied in part. It is admitted that this Court has jurisdiction to

 hear the instant Rule 2004 Motion. It is denied that the Court has jurisdiction to consider and

 resolve any issues under the Financially Distressed Municipalities Act.

        2.      Denied as stated. Respondent incorporates herein its answer at Paragraph 1

 above, as though set forth herein at length.

        3.      Denied as stated. Respondent incorporates herein its answer at Paragraph 1

 above, as though set forth herein at length.

        4.      Denied as stated. Respondent incorporates herein its answer at Paragraph 1

 above, as though set forth herein at length.

 III.   Background

        A.      The Bankruptcy

        5.      Denied. Paragraph 5 presents conclusions of law to which no response is

 required, and they are denied. In response to footnote 4 that is incorporated into Paragraph 5, the




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 Declaration is a document which speaks for itself, and any characterization and/or

 mischaracterization is denied.

         6.      Denied. The Declaration is a document that speaks for itself, and any

 characterization and/or mischaracterization is denied. It is specifically denied that the instant

 Motion was filed to effectuate a financial restructuring of the City’s obligations, as stated. On

 the contrary, the instant Motion was filed in order to secure documents and information in

 support of the City’s anticipated misuse of the bankruptcy process to avoid having to address the

 Commonwealth Court’s bifurcation of its February 14, 2023 decision with regard to the City’s

 Second Amended Recovery Plan as it relates to the Stormwater Authority of the City of Chester.

         7.      Denied. After reasonable investigation, Respondent is without sufficient

 information to either admit or deny the averments regarding the City’s process of detailing and

 analyzing all of its rights, interests, assets and liabilities, therefore, they are denied. Further,

 Respondent asserts that these averments are immaterial to the instant Motion.

         B.      SAC and the Receiver’s Recovery Plans

         8.      Denied. To the extent that Paragraph 8, and its footnotes 5 and 6, present

 conclusions of law, no response is required, and they are denied. By way of further answer, the

 Stormwater Authority of the City of Chester was incorporated on October 12, 2016, and has been

 lawfully operating pursuant to Pennsylvania’s Municipality Authorities Act, 53 Pa.C.S.A. §

 5601, et seq. (hereinafter “Authorities Act”). Having been incorporated pursuant to the

 Authorities Act, the Stormwater Authority is a corporate entity, separate and distinct from the

 City, created for the purpose of and with the power to acquire, hold, construct, finance, improve,

 maintain and operate projects related to stormwater planning and management within the City of

 Chester and for the benefits of the citizenry. See, 53 Pa.C.S.A. § 5607(a). Under Pennsylvania




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 law, the administrative powers and duties of authorities such as the Stormwater Authority “shall

 be exercised by a board,” which, albeit appointed by the municipality, nevertheless acts wholly

 independently from the municipality. See, 53 Pa.C.S.A. § 5610(a)(1). Indeed, Section 5610(e)

 provides, in relevant part:

        The board shall have full authority to manage the properties and business of the
        authority and to prescribe, amend and repeal bylaws, rules and regulations
        governing the manner in which the business of the authority may be conducted
        and the powers granted to it may be exercised and embodied.

 53 Pa.C.S. § 5610(e).

        9.      Denied. The Emergency Action Plan is a document that speaks for itself, and any

 characterization and/or mischaracterization is denied.

        10.     Denied. The Recovery Plan and the Doweary Declaration are documents that

 speak for themselves, and any characterizations and/or mischaracterizations are denied. By way

 of further answer, Respondent incorporates herein by reference the several Pennsylvania

 Supreme Court opinions, concurrences and dissents attached as Exhibits to the City’s Motion,

 which, considered collectively, indicate that Pennsylvania law regarding Act 47 is far from clear,

 including what a recovery plan may or may not provide under the law. By way of further

 answer, federal courts, among other things, must look to how a state's highest court would

 resolve questions of law. See e.g., Amato v. KPMG LLP, 433 F. Supp. 2d 460, 474 (M.D. Pa.

 2006) and Fulton Bank, N.A. v. UBS Sec., Inc.,2011 U.S. Dist. LEXIS 128820, 2011 WL

 5386376 (E.D.Pa. Nov. 7, 2011). As the Pennsylvania Supreme Court itself noted in January

 2024, in the City’s state court matter, “because the Justices are unable to reach a consensus

 regarding the disposition of the Commonwealth Court’s order, the order of the Commonwealth

 Court is AFFIRMED by operation of law.” (See, Exhibit D to the instant Motion, pg. 3)

 (emphasis in original).



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           11.   Admitted. The documents and the record speak for themselves.

           12.   Denied. Respondent is unable to either admit or deny the reasons the Receiver

 sought a writ of mandamus, and the averments are therefore denied.

           13.   Denied. The “Second Amended Recovery Plan” is a document that speaks for

 itself, and any characterizations and/or mischaracterizations are denied.

           14.   Admitted in part; denied as stated. It is admitted only that the Commonwealth

 Court held a three-day hearing, and that prior to the hearing the Court bifurcated the proposed

 initiatives regarding the Respondent and regarding the Chester Parking Authority. Any

 characterization of the Receiver’s or the Authority’s motives to enter into the said Stipulation are

 denied.

           15.   Denied as stated. The document and the record speak for themselves.

           16.   Denied as stated. The document and the record speak for themselves.

           17.   Denied as stated. The document and the record speak for themselves.

           18.   Denied. The Stipulation is a document that speaks for itself, and any

 characterizations and/or mischaracterizations are denied. By way of further answer, Respondent

 is unable to either admit nor deny whether the Stipulation had any or no impact on other

 authorities, therefore, the averment is denied.

           19.   Denied as stated. It is denied that the Pennsylvania Supreme Court entered an

 opinion affirming the Commonwealth Court’s order. On the contrary, the Supreme Court’s Order

 stated, “… because the Justices are unable to reach a consensus regarding the disposition of the

 Commonwealth Court’s order, the order of the Commonwealth Court is AFFIRMED by

 operation of law.” (See Exhibit D to the instant Motion at p. 3 of 94) (bold emphasis in the

 original; underscore emphasis added).




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        20.     Denied. The referenced Opinion is a document that speaks for itself, and any

 characterization and/or mischaracterization is denied. Movant’s conclusions of law are denied.

 The Pennsylvania Supreme Court entered its Order stating, “… because the Justices are unable to

 reach a consensus regarding the disposition of the Commonwealth Court’s order, the order of the

 Commonwealth Court is AFFIRMED by operation of law.” (See Exhibit D to the instant

 Motion at pg. 3) (bold emphasis in the original; underscore emphasis added). By way of further

 answer, the several opinions as expressed within the Opinion (an Opinion, a Concurrence that

 does not necessarily agree with the Opinion, and a Dissent) indicate that there is no clarity of

 with regard to Act 47 in the Pennsylvania Supreme Court.

        21.     Denied. To the extent Paragraph 21 presents conclusions of law regarding Act 47

 no response is required, and they are denied. By way of further answer, Respondent incorporates

 herein its answer to Paragraph 20 as though set forth fully herein at length.

        22.     Denied. To the extent Paragraph 22 presents conclusions of law regarding Act 47

 no response is required, and they are denied. By way of further answer, Respondent incorporates

 herein its answer at Paragraph 20 as though set forth fully herein at length.

        23.     Denied. To the extent Paragraph 23 presents conclusions of law regarding Section

 LEG09 of the Receiver’s Amended Recovery Plan, no response is required, and they are denied.

 By way of further answer, the fact that Paragraph 23 points to the Commonwealth Court suggests

 that the instant motion was filed, and the information and documents requested, in support of the

 enforcement of an underlying state court Recovery Plan, wherein the Commonwealth Court –

 and not the Bankruptcy Court – is the ultimate arbiter of the law and enforcement.

        24.     Denied. To the extent Paragraph 24 presents conclusions of law regarding the

 state court Emergency Action Plan, the Recovery Plan and the Second Amended Recovery Plan




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 no response is required, and they are denied. By way of further answer, the fact that Paragraph

 23 points to the Commonwealth Court suggests that the instant motion was filed, and the

 information and documents requested, in support of the enforcement of an underlying state court

 Recovery Plan, wherein the Commonwealth Court – and not the Bankruptcy Court – is the

 ultimate arbiter of the law and enforcement.

        25.     Denied. To the extent that Paragraph 25 presents conclusions of law regarding

 Act 47, no response is required, and they are denied. By way of further answer, to the extent it is

 material to any bankruptcy-related issue, it is denied that the assets of the Respondent can be

 monetized under the Act or under any Plan submitted by the City or the Receiver to the

 Commonwealth Court for consideration and approval. On the contrary, the Commonwealth

 Court bifurcated the Second Amended Recovery Plan, and never considered the Receiver’s

 proposed initiatives regarding Respondent, much less ruled on them. Movant cannot now

 present any valid averments regarding the initiatives because they have not been resolved. The

 assets cannot be monetized until and unless a plan is presented (or re-presented) to the

 Commonwealth Court for its consideration, and the Respondent provided an opportunity to

 respond and object.

        C.      The Requests Directed to SAC

        26.     Denied. The referenced document speaks for itself. Respondent specifically

 denies Movant’s characterization of its initial requests as “Initial 2004 Request” because the

 requests were not presented to the Authority pursuant to Bankruptcy Rule 2004. Respondent

 denies that the requests for information and documents were served or presented to further any

 bankruptcy proceedings or goals. On the contrary, and as stated in the Receiver’s letter of April




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 1, 2024, “This request is made under the following [Recovery] Plan initiatives….” See, Exhibit

 N to the instant Motion.

        27.     Denied as stated. The referenced document speaks for itself.

        28.     Denied. Respondent is unable to either admit or deny what the City did with

 documents or information between June 30 and October 27, 2023, therefore, the averments are

 denied. The referenced document speaks for itself.

        29.     Denied. The email attached as Exhibit H to the instant Motion is a document that

 speaks for itself, and any mischaracterization is denied. By way of further answer, it is denied

 that any requests for information or documents were served or otherwise presented to further any

 bankruptcy proceedings or goals, or that any of the referenced requests should legitimately be

 considered a “Rule 2004 request.” On the contrary, and as specifically stated in the Receiver’s

 letter of April 1, 2024, the information and documents were requested with regard to, and based

 upon the Second Amended Recovery Plan. See, response to Paragraph 26, above.

        30.     Denied as stated. It is denied that any information or documents produced were

 necessarily in response to any specific communication (none of which is memorialized or

 otherwise identified except by dates). On the contrary, and as specifically stated in the

 Receiver’s letter of April 1, 2024, the information and documents were requested with regard to,

 and based upon the Second Amended Recovery Plan.

        31.     Denied. Movant provides no basis for its implication that there are “basic”

 documents that would be responsive to its requests. Further, the “basic” documents referenced

 either have been turned over to the Receiver through the required annual audits pursuant to 53

 Pa.C.S.A. s. 5612(b), or, if not already provided, can be requested in the normal course through

 applicable right to know processes.




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        32.     Admitted in part; denied in part. The referenced document speaks for itself. It is

 denied that any requests for information or documents were served or otherwise presented to

 further any bankruptcy proceedings or goals, or that any of Movant’s requests should

 legitimately be considered a “Rule 2004 request.” On the contrary, and as specifically stated in

 the Receiver’s letter of April 1, 2024, the information and documents were requested with regard

 to, and based upon the Second Amended Recovery Plan. By way of further answer, it is denied

 that Respondent is obliged to respond to requests presented with regard to and/or based upon any

 Plan submitted by Movant to the Commonwealth Court. On the contrary, the Commonwealth

 Court bifurcated the Second Amended Recovery Plan, and has not yet considered or ruled on the

 Receiver’s proposed initiatives regarding Respondent.

        D.      SAC Financial and Governance Issues

        33.     Denied. Movant’s Exhibit J is a document that speaks for itself, and any

 mischaracterizations are denied. By way of further argument, neither Respondent’s financial

 status nor the Minutes of any of Respondent’s Board Meetings are relevant to the bankruptcy

 proceeding. As outlined herein throughout, the Commonwealth Court bifurcated the Movant’s

 proposed initiatives regarding Respondent, and any such issues cannot be considered, much less

 resolved in Movant’s bankruptcy proceedings. On the contrary, the initiatives proposed in the

 Receiver’s Second Amended Recovery Plan, and the obligations between Respondent and

 Movant under Act 47, can only be considered and resolved by the Commonwealth Court. See,

 53 P.S. 11701.703 (requiring that any recovery plan or modification thereto “shall” be considered

 by the Commonwealth Court). By way of additional response, the rates to which the City refers

 have already been subject to judicial review and determined to be reasonable and lawful by the

 Commonwealth Court. See, Appeal of Best Homes DDJ, LLC, et al, No. 239 C.D. 2020




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 (unpublished opinion issued on December 23, 2021 in which the Commonwealth Court affirmed

 the trial court’s determination that the Authority’s fees were reasonably set), a copy of which is

 attached hereto as Exhibit 3.

           34.   Denied. It is denied that Respondent has done anything unreasonable or

 otherwise improper as averred. The issues and averments presented in Paragraph 34 are outside

 the scope of Debtor’s bankruptcy proceedings. By way of additional response, the rates to which

 the City refers have already been subject to judicial review and determined to be reasonable and

 lawful by the Commonwealth Court. See Appeal of Best Homes DDJ, LLC, et al, No. 239 C.D.

 2020 (unpublished opinion issued on December 23, 2021 in which the Commonwealth Court

 affirmed the trial court’s determination that the Authority’s fees were reasonably set), Exhibit 3

 hereto.

           35.   Denied. It is specifically denied that any financial or management issues have

 “arisen” with respect to Respondent, and/or that, if they had, such issues would be subject to

 oversight by this Court in Debtor’s bankruptcy proceedings. Further, Respondent denies that

 there is a basis for the Receiver’s alleged “concerns regarding the corporate governance of

 SAC.” With respect to the identity of the Authority’s Board members, the Authority’s publicly

 available website information speaks for itself. As outlined in the several Supreme Court

 Opinions attached as Exhibits to the Motion, the removal or movement of Board members could

 only be accomplished by way of a Plan presented to, and approved by, the Commonwealth

 Court. This Court should not permit Movant to misuse Rule 2004 to engage in pre-Plan

 discovery for arguments it intends to present in a future amended Plan in Commonwealth Court.

           36.   Denied as stated. The identities of the City’s elected and compensated officials

 are publicly available information that speaks for itself.




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         37.    Denied. The City’s Charter is a publicly available document that speaks for itself;

 the email thread attached to the Motion as Exhibit L is a document that speaks for itself. To the

 extent that Paragraph 37 presents conclusions of law regarding Article II of the City’s Charter, no

 response is required, and they are denied. It is specifically denied that any such issues would be

 subject to oversight by this Court, but rather can only be properly addressed by the

 Commonwealth Court pursuant to Act 47. Further, the City Solicitor’s email acknowledges that

 there are differing legal opinions as to whether City Councilmembers may serve on the

 Authority’s Board, and the Authority maintains that the Councilmembers are properly serving on

 its board.

         38.    Denied as stated. By way of further answer with regard to allegations against

 Council and Board Members, Respondent incorporates herein its answer at Paragraph 37, above,

 as though set forth herein at length.

         39.    Denied. The Mayor’s and/or the Receiver’s “concerns” are their own, and

 Respondent is without information to either admit or deny the validity thereof. Respondent

 denies that the Mayor’s request for information or documents are properly requested within the

 instant bankruptcy proceedings for the reasons set forth hereinabove.

         40.    Denied as stated. The email thread attached to the Motion as Exhibit M is a

 document that speaks for itself. By way of further response, see response to Paragraph 31,

 above, which is incorporated herein as though fully set forth at length.

         41.    Denied as stated. The email thread attached to the Motion as Exhibit M is a

 document that speaks for itself. By way of further answer, it is denied that Dr. Strand and the

 Authority made no reply; they replied through counsel.




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        42.     Denied as stated. It is admitted that the April 1, 2024 letter is a document that

 speaks for itself. By way of further response, it is denied that any requests for information or

 documents were served or otherwise presented under the purview of a Bankruptcy Rule 2004

 request. On the contrary, and as specifically stated in the Receiver’s letter of April 1, 2024, the

 information and documents were requested with regard to, and based upon the Second Amended

 Recovery Plan pending in Commonwealth Court.

        43.     Denied. The April 8, 2024 letter speaks for itself, and any mischaracterization is

 denied. By way of further response, it is denied that any requests for information or documents

 were served or otherwise presented under the purview of a Bankruptcy Rule 2004 request. On

 the contrary, and as specifically stated in the Receiver’s letter of April 1, 2024, the information

 and documents were requested with regard to, and based upon the Second Amended Recovery

 Plan, and issues related thereto should be litigated in the Commonwealth Court.

 IV.    Relief Requested and Basis for Relief

        44.     Paragraph 44 presents a request for relief based upon legal conclusions to which

 no response is required. For the reasons outlined above, the requested relief should be denied.

        45.     Denied. Paragraph 45 presents conclusions of law regarding Rule 2004 to which

 no response is required, the conclusions of law are denied.

        46.     Denied. Paragraph 46 presents conclusions of law to which no response is

 required, and the conclusions of law are denied.

        47.     Denied. Paragraph 47 presents conclusions of law to which no response is

 required, and the conclusions of law are denied. By way of further answer, it is denied that

 Movant has a unilateral right to re-acquire Respondent’s assets. On the contrary, the Movant

 already presented to the Commonwealth Court, pursuant to Act 47, its Second Amended




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 Recovery Plan regarding “monetizing” the Authority and/or its assets. In its Response and

 Opposition, the Stormwater Authority argued that the Receiver would be bound to follow the

 Authorities Act and the limitations it places on proceeds of the Authority. Section 5622(d) of the

 Authorities Act provides in relevant part:

        Following transfer of a project pursuant to this section, the municipality…, which
        has acquired the project shall retain the reserves received from the authority
        which have been derived from operations in a separate fund, and the reserves shall
        only be used for the purposes of operating, maintaining, repairing, improving and
        extending the project. Money received from the authority which represents the
        proceeds of financing shall be retained by the municipality in a separate fund
        which shall only be used for improving or extending the project or other capital
        purposes related to it.

 53 Pa.C.S.A. § 5622(d) (emphasis added). The Authority argued that this restriction would

 directly impair the Receiver’s ability to use Authority reserves or proceeds from financing

 towards the payment of outstanding debt obligations owed by the City. Instead, the proceeds

 from such monetization would have to be allocated specifically and exclusively for the purposes

 of operating, maintaining, repairing, improving and extending the City’s stormwater

 management needs. As outlined above, the Stormwater Authority-related issues were bifurcated.

 Movant now seeks to do an end-run around the authority of the Commonwealth Court through

 the bankruptcy proceeding. Movant should not be permitted to do so.

        48.     Denied. Paragraph 48 presents conclusions of law to which no response is

 required, and the conclusions of law are denied. By way of further answer, the Receiver cannot

 dissolve the Stormwater Authority without first presenting the proposal in a Plan presented to the

 Commonwealth Court, and only if the Commonwealth Court so permits the dissolution. Further,

 to the extent that Movant argues otherwise, it is the Commonwealth Court who would consider

 and decide the legal issue of what the Commonwealth Court can determine.




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         49.    Denied. To the extent Paragraph 49 presents conclusions of law, no response is

 required, and the conclusions of law are denied. By way of further answer, the Respondent

 incorporates herein its answers to Paragraphs 1 through 48 above as though set forth herein at

 length. Additionally, if the City has any interest in the Authority’s assets, such interest can only

 be that which existed as of the Petition date. To now state that the information and documents

 being requested directly “relate to the City’s property interests in SAC and its assets” is a bridge

 too far. The City and Receiver argue that they have a right to reacquire and/or dissolve the

 Authority pursuant to Act 47 and the MAA, but – even assuming, arguendo, that this is true – as

 of the Petition date, the City had not yet done so. The Authority remains independent of the City,

 and its assets remain its own; they are not property of Debtor’s bankruptcy estate. Proceedings

 to reacquire and dissolve the Authority pursuant to Act 47 and the MAA would have had to have

 been completed pre-Petition in order to make such a claim. Such proceedings are the exclusive

 jurisdiction of the Commonwealth Court, and this Court has already granted limited stay relief

 for Debtor to do so.

         50.    Denied. It is denied that Debtor’s Motion should be granted.

 III. [sic]     Local Rule 2004-1(a) Certification

         51.    Denied as stated. Respondent admits that further efforts would be futile, and, for

 all of the foregoing reasons, and the Motion should be denied.

 IV. [sic]      Reservation of Rights

         52.    Denied. The averments of this paragraph are conclusions of law to which no

 response is required, and they are denied.




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 V. [sic]          Notice

            53.    Denied. The averments of this paragraph are conclusions of law to which no

 response is required, and they are denied.

 VI. [sic]         No Prior Request

            54.    Denied as stated. Requests for the documents that are the subject of this pending

 Motion can and should be requested through the Commonwealth Court proceedings. See,

 Memorandum and Opinion of the Commonwealth Court of Pennsylvania in Neil R. Weaver, in

 his capacity as Acting Secretary of the Department of Community and Economic Development v.

 City of Chester, at FN.9 at pp- 9-10.

 VII. [sic]        Conclusion

            WHEREFORE, the Stormwater Authority of the City of Chester respectfully requests that

 this Court deny Debtor’s Motion.

                                                 WETZEL GAGLIARDI FETTER & LAVIN LLC

 Date: May 23, 2024                             By:     /s/ John A. Gagliardi
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